

Matter of Rodolph v Sou Phommavongsa (2018 NY Slip Op 00698)





Matter of Rodolph v Sou Phommavongsa


2018 NY Slip Op 00698


Decided on February 2, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 2, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, DEJOSEPH, NEMOYER, AND TROUTMAN, JJ.


151 CAF 16-01386

[*1]IN THE MATTER OF MICHAEL R. RODOLPH, PETITIONER-APPELLANT,
vSOU PHOMMAVONGSA, RESPONDENT-RESPONDENT. (APPEAL NO. 1.) 






ELIZABETH CIAMBRONE, BUFFALO, FOR PETITIONER-APPELLANT. 
HAWTHORNE &amp; VESPER, PLLC, BUFFALO (TINA M. HAWTHORNE OF COUNSEL), FOR RESPONDENT-RESPONDENT. 


	Appeal from an order of the Family Court, Erie County (Deanne M. Tripi, J.), entered June 14, 2016 in a proceeding pursuant to Family Court Act article 6. The order granted respondent's motion to dismiss the petition, which was filed on March 31, 2016. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Matter of Whitney v Whitney [appeal No. 3], 154 AD3d 1295, 1295 [4th Dept 2017]; Matter of Schultz v Schultz [appeal No. 2], 107 AD3d 1616, 1616 [4th Dept 2013]).
Entered: February 2, 2018
Mark W. Bennett
Clerk of the Court








